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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                              Hearing Date: June 16,
                                                                    2016 at 10:00 a.m.
Amir Orly                                                           Bankruptcy Case No. 15-
                                                                    11650 (JLG)
                                                                    Chapter 7
                                   Debtor.
                                                                    Adversary Proceeding No.
ALFREDO MORENO COCOLETZI, EDGAR                                     16-01020 (JLG)
MONTEROSO AND GILBERTO DARIO RAMIREZ
RAMOS, GERMAN TORRES ROMERO, AND
CRISTIAN FREDY VILLAR MEDINA, on behalf of
themselves and others similarly situated,

                                   Plaintiffs,

                          -against-

AMIR ORLY,


                                   Defendant.

----------------------------------------------------------------X




              PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION
          TO DEFENDANT AMIR ORLY’S MOTION TO DISMISS COMPLAINT




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       Plaintiffs Alfredo Moreno Cocoletzi, Edgar Monteroso, Gilberto Dario Ramirez, German

Torres Romero, and Cristian Fredy Villar Medina, by their attorneys Michael Faillace &

Associates, P.C., submits this memorandum of law in opposition to Defendants’ motion to

dismiss the complaint.

                                      Preliminary Statement

       The Plaintiffs are plaintiffs in an action against debtor Amir Orly, and non-debtors Fat

Sal’s Pizza Corp, Fat Sal’s Pizza II Corp., and Eldad Shaar (the “Non-Debtor Defendants”) in the

United States District Court for the Southern District of New York (the “District Court Action”)

for unpaid minimum and overtime wages under the Fair Labor Standards Act (“FLSA”) and New

York Labor Law (“NYLL”), unpaid spread of hours pay under the NYLL, and failure to provide

wage notices and statements as required by the NYLL. The adversary proceeding alleges that in

committing the underlying acts of the District Court Action, Orly willfully and maliciously

caused injury to the Plaintiffs, and that therefore the debts arising from such actions should not

be discharged.

       The complaint should not be dismissed. The complaint adequately alleges the willful and

malicious injury necessary to avoid a discharge pursuant to 11 U.S.C. §523(a)(6). Accordingly,

Plaintiffs state a claim against Orly, and the action should proceed to determine whether Orly’s

debts to the Plaintiffs are exempt from discharge.

       Plaintiffs concede that due to the amendment of Orly’s Statement of Financial Affairs,

Plaintiffs’ second cause of action should be dismissed.
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                                        Statement of Facts

       The following facts are taken from the docket in this bankruptcy proceeding.

       Alfredo Moreno Cocoletzi, Edgar Monteroso, Gilberto Dario Ramirez commenced the

District Court Action against Orly and the Non-Debtor Defendants on April 7, 2015. (Complaint

Ex. A) On April 24, 2015 and May 7, 2015, German Torres Romero, and Cristian Fredy Villar

Medina filed consents to join the District Court Action as party plaintiffs.

       As alleged by the Plaintiffs in the complaint, Orly and the Non-Debtor Defendants owned

and operated pizzerias doing business under the name Fat Sal’s Pizza, located in New York, New

York. (Complaint Ex. A ¶2) Plaintiffs allege that they were employed by the Defendants and

that they were paid below the minimum wage rate, not paid overtime, not paid spread of hours

pay, and not provided notices and wage statements provided by New York law. (Id. ¶¶5-13, 37-

94) Plaintiffs specifically allege in the complaint in the District Court Action that Orly’s actions

were willful. (Id. ¶¶110, 112, 118-119; see also ¶¶126, 130, 135, 140, 144)

       On June 24, 2015, Amir Orly filed this bankruptcy petition. (Main Dkt. No. 1) Plaintiffs

filed a motion to lift the automatic bankruptcy stay in order to proceed against Orly in the

District Court Action. (Main Dkt. Nos. 9-12) This Court held a hearing on December 16, 2015,

and granted Plaintiffs’ motion to lift the automatic bankruptcy stay by order dated January 13,

2016. (Main Dkt. No. 25)

       Plaintiffs filed this adversary proceeding on February 6, 2016. (Adv. Pro. Dkt. No. 1)

Orly filed a motion to dismiss on April 11, 2016. (Adv. Pro. Dkt. No. 8) The motion is set for a

hearing on June 16, 2016. (Adv. Pro. Dkt. No. 11)



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       The District Court Action is currently proceeding in discovery. Discovery is scheduled to

be completed by September 16, 2016, with the parties scheduled to file pre-trial materials by

October 21, 2016. (S.D.N.Y. Docket No. 15-cv-2696, Dkt. Entry 5/20/16)

                                             Argument

                  DEFENDANTS’ MOTION TO DISMISS SHOULD BE DENIED

       A.      The Standard on a Motion to Dismiss

       Pursuant to Fed. R. Civ. P. 12(b)(6), made applicable to an adversary proceeding in the

bankruptcy court by Fed. R. Bankr. P. 7012(b)(6), on a motion to dismiss for failure to state a

claim, the Court must accept all factual allegations as true.          Starr v. Sony BMG Music

Entertainment, 592 F.3d 314, 321 (2d Cir. 2010). “[W]hile a complaint attacked by a Rule

12(b)(6) motion to dismiss does not need detailed factual allegations, a plaintiff's obligation to

provide the grounds of his entitle[ment] to relief requires more than labels and conclusions, and a

formulaic recitation of the elements of a cause of action will not do.” Id.( quoting Bell Atlantic

Corp. v. Twombly, 550 U.S. 544, 555 (2007)). “Instead, ‘[f]actual allegations must be enough to

raise a right to relief above the speculative level, on the assumption that all the allegations in the

complaint are true (even if doubtful in fact).’” Id. (quoting Twombly, 550 U.S. at 555. “A claim

has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Anderson News,

LLC v. American Media, Inc., 680 F. 3d 162, 182 (2d Cir. 2012) (quoting Ashcroft v. Iqbal, 556

U.S. 662, 129 S.Ct. 1937, 1949 (2009)).




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       B.      The Complaint States a Claim for Non-Dischargeability of
               Debts Due to Willful and Malicious Injury by Orly of Plaintiffs

       The Complaint states a claim for non-dischargeability of Orly’s debts to the Plaintiffs.

Specifically, Plaintiffs allege that Orly’s actions in violating the FLSA and NYLL caused willful

and malicious injury, and therefore Orly’s debt to the Plaintiffs is non-dischargeable under 11

U.S.C. §523(a)(6).

       11 U.S.C §523(a)(6) provides, in pertinent part, that bankruptcy does not discharge the

debtor “from any debt . . . for willful and malicious injury by the debtor to another entity.” In

order to prevail on a claim for non-dischargeability, Plaintiffs must establish “a deliberate or

intentional injury, not merely a deliberate or intentional act that leads to injury.” Kawaauhau v

Geiger, 523 U.S. 57, 61 (1998). Plaintiffs need not establish fraud by a debtor; Section 523(a)(6)

“covers debts ‘for willful or malicious injury,’ whether or not that injury is the result of fraud.”

Husky Int'l Elecs., Inc. v. Ritz, __ U.S. __, 136 S. Ct. 1581, 194 L. Ed. 2d 655, 664 (2016). “[I]f

a debtor believes that an injury is substantially certain to result from his conduct, the debtor will

be found to have possessed the requisite intent to injure required under Geiger. DeCurtis v.

Ferrandina, 533 B.R. 11, 26 (Bankr. E.D.N.Y. 2015).


       “The injury caused by the debtor must also be malicious, meaning ‘wrongful and without

just cause or excuse, even in the absence of personal hatred, spite, or ill-will.’” Ball v. A.O.

Smith Corp., 451 F.3d 66, 69 (2d Cir. 2006) (quoting In re Stelluti, 94 F.3d 84, 87 (2d Cir.

1996)). “Malice may be implied ‘by the acts and conduct of the debtor in the context of [the]

surrounding circumstances.’” Id. (quoting In re Stelluti, 94 F.3d at 86). “Malice may also be

implied when ‘anyone of reasonable intelligence knows that the act in question is contrary to

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commonly accepted duties in the ordinary relationships among people, and injurious to

another.’” Parris v. Delaney (In re Delaney), 504 B.R. 738, 749 (Bankr. D. Conn. 2014)

(quoting In re Hambley, 329 B.R. 382, 402 (Bankr. E.D.N.Y. 2005)). Malice can also be found

“where a debtor has breached a statutory duty ‘willfully in the sense of acting with deliberate

intent, in circumstances where it is evident that the conduct will cause injury to the plaintiff and

under some aggravating circumstances to warrant the denial of a discharge.’” Forrest v. Bressler

(In Re Bressler), 387 B.R. 446, 455 (Bankr. S.D.N.Y. 2008) (quoting Bundy Am. Corp. v.

Blankfort (In re Blankfort), 217 B.R. 138, 144 (Bankr. S.D.N.Y. 1998)).

       Plaintiffs have sufficiently alleges that Orly caused willful and malicious injury to them

by paying them at rates below the legal minimum and overtime wages. In the District Court

Complaint, incorporated by reference to the complaint in this adversary proceeding, Plaintiffs

allege that Defendants, including Orly, paid Plaintiffs at the rates of $4.00 or $5.00 per hour for

all hours worked, despite Plaintiffs’ working as many as 81 hours per week. (District Court

Complaint ¶¶43-49, 64-67, 83-86).        Plaintiffs further alleged that this was pursuant to an

intentional policy to underpay Plaintiffs and that Plaintiffs had a policy of disguising Plaintiffs’

duties by designating them as delivery workers to conceal the fact that they performed various

non-tipped duties.    (Id. ¶¶11, 95-98, 105)     Plaintiffs allege that Defendants willfully paid

Plaintiffs in cash in order to disguise the number of hours Plaintiffs worked and to avoid paying

Plaintiffs for their full hours worked, and at their full wages. (Id. ¶110) Plaintiffs further allege

that Defendants’ violations of the law were pursuant to an intentional corporate policy to

minimize labor costs and to deny employees compensation by knowingly violating the FLSA

and NYLL. (Id.¶111) Additionally, in the Adversary Proceeding Complaint, Plaintiffs allege

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that Orly’s actions were intentional, done without just cause or excuse, and that Orly had the

ability to pay Plaintiffs properly and simply chose not to. (Adversary Proceeding Complaint

¶14)

       These allegations sufficiently allege that Orly caused willful and malicious injury to the

Plaintiffs. By alleging that Orly willful and maliciously violated the FLSA and NYLL, injuring

Plaintiffs, Plaintiffs have stated a claim for non-dischargeability pursuant to Section 523(a)(6).

Although Orly alludes to the fact that the District Court Complaint alleges willfulness under the

definition of the FLSA rather than Section 523(a)(6), Orly fails to demonstrate that the

allegations in the District Court Complaint and Adversary Proceeding are insufficient to establish

willful and malicious injury under Section 523(a)(6). Orly does not cite a single case finding

that a plaintiff could not establish willful and malicious injury by alleging and providing willful

violation of the FLSA. Indeed, Orly does not cite a single case granting a motion to dismiss an

adversary proceeding for non-dischargeability on any grounds.

       Ample case law establishes that a willful violation of the FLSA, or an otherwise willful

refusal to pay an employee wages, can support a finding of non-dischargeability in bankruptcy

pursuant to Section 523(a)(6). See Petarlia v. Jercich (In re Jercich), 238 F.3d 1202, 1209 (9th

Cir. 2001) (debt arising from debtor’s failure to pay wages was excepted from discharge under

Section 523(a)(6)); Farie v. Silva (In re Silva), 12-17413-WCH, 2014 Bankr. LEXIS 258, *32-

*34, 2014 WL 217889 (Bankr. D. Mass. Jan. 21, 2014) (same); Romano v. Defusco (In re

Defusco), 500 B.R. 664, 669-670 (D. Mass. 2013) (allegation to debtor underpaid creditor by

failing to pay overtime stated claim under Section 523(a)(6); Chaves v. Ruhland (In re Ruhland),

11-19510-JNF, 2013 Bankr. LEXIS 1061, *22-*36, 2013 WL 1088737, at *13 (Bankr. D. Mass.

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Mar. 13, 2013); see also Murray v. Altendorf (In re Altendorf), No. 15-07003, 2015 Bankr.

LEXIS 2517, *19-*20 (Bankr. N.D. July 29, 2015) (allegations that debtor intentionally failed to

pay wages owed stated claim for non-dischargeability pursuant to Section 523(a)(6)); U.S. v.

Makozy (In re Makozy), 13-2440-CMB, 2014 Bankr. LEXIS 3831 (Bankr. W.D. Pa. Sept. 9,

2014) (denying summary judgment to both plaintiff and defendants as to whether finding of

willfulness in FLSA action demonstrates willfulness under Section 523(a)(6)). As in these cases,

Plaintiffs here have stated a claim for non-dischargeability of Orly’s debt to them arising from

his willful and malicious refusal to pay them wages that accord with the requirement of the FLS

and NYLL.

       Plaintiffs have adequately stated a claim for non-dischargeability of Orly’s debt to them

pursuant to Section 523(a)(6). Orly’s motion to dismiss the complaint should be denied.

                                            Conclusion

       Based on the foregoing, the Court should deny Orly’s motion to dismiss the complaint,

together with such other and further relief as the Court deems just and proper.

Dated: New York, New York
       June 8, 2016
                                             __/s/ Joshua S. Androphy
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